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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                              )
          Respondent/Plaintiff,                        )
vs.                                                    )           No. 3:97-CR-0055-K (02)
                                                       )           No. 3:05-CV-2531-K (BH)
RODNEY TRAYLOR, ID # 29594-077,                        )                    ECF
         Movant/Defendant.                             )        Referred to U.S. Magistrate Judge

                  FINDINGS, CONCLUSIONS AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to the provisions of 28 U.S.C. § 636(b), and an Order of the Court in implementa-

tion thereof, subject cause has previously been referred to the United States Magistrate Judge. The

findings, conclusions, and recommendation of the Magistrate Judge are as follows:

                                           I. BACKGROUND

        Movant, an inmate currently incarcerated in a federal prison facility, filed the instant motion

to vacate pursuant to 28 U.S.C. § 2255. Respondent is the United States of America.

        On May 20, 1997, a jury convicted movant of a single count of conspiring to distribute

narcotics and five counts of distributing narcotics. The Court sentenced him to 216 months im-

prisonment on each count to run concurrently. On March 25, 2002, the Court denied a previous

motion to vacate filed by movant. On November 30, 2005, the Court received a petition filed by

movant pursuant to 28 U.S.C. § 2241 to challenge his conviction based upon a defective indictment

and a failure to submit sentencing enhancements to the jury.1 See Traylor v. Joslin, No. 3:05-CV-

2372-R (N.D. Tex.). On December 30, 2005, the Court received the instant motion to vacate




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  Contemporaneously with these findings, the undersigned Magistrate Judge has recommended that the Court dismiss
the § 2241 petition for lack of jurisdiction.
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wherein he asserts that he was unconstitutionally sentenced in light of United States v. Booker, 543

U.S. 220 (2005).

       Because movant has pursued a prior motion to vacate pursuant to 28 U.S.C. § 2255, see Civil

Action No. 3:00-CV-2199-G, the Court must determine whether the instant motion is second or

successive within the meaning of § 2255.

                       II. SECOND OR SUCCESSIVE APPLICATION

       The Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. 104-132, 110 Stat. 1214

(AEDPA) limits the circumstances under which a federal prisoner may file a second or successive

motion to vacate in federal court. Under Fifth Circuit precedent, “a subsequent motion is ‘second

or successive’ when it: ‘1) raises a claim challenging the [movant’s] conviction or sentence that was

or could have been raised in an earlier [motion to vacate]; or 2) otherwise constitutes an abuse of

the writ.’” United States v. Orozco-Ramirez, 211 F.3d 862, 867 (5th Cir. 2000) (quoting In re Cain,

137 F.3d 234, 235 (5th Cir. 1998)).

       In this instance, movant has filed a prior motion to vacate to challenge his federal conviction

wherein he alleged that his attorney had a conflict of interest and rendered ineffective assistance.

Under Orozco-Ramirez, movant was required to present all available claims related to his conviction

in his initial motion to vacate:

       “The requirement that all available claims be presented in a prisoner’s first habeas
       petition is consistent not only with the spirit of AEDPA’s restrictions on second and
       successive habeas petitions, but also with the preexisting abuse of the writ principle.
       The requirement serves the singularly salutary purpose of forcing federal habeas peti-
       tioners to think through all potential post-conviction claims and to consolidate them
       for a unitary presentation to the district court.”

211 F.3d at 870-71 (quoting Pratt v. United States, 129 F.3d 54, 61 (1st Cir. 1997)).


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        In this instance, movant relies upon Booker to again challenge his conviction and sentence.

Movant could have raised such claim, albeit not precisely on the recent case law, when he filed his

first motion to vacate. See In re Elwood, 408 F.3d 211, 212-13 (5th Cir. 2005) (per curiam) (denying

authorization for filing a successive motion to vacate based upon Booker); United States v. Frazier, 186

Fed. App’x 490, 490 (5th Cir. 2006) (per curiam) (holding that “Booker is not a ground for filing a

successive § 2255 motion). Because the instant action raises claims that movant could have raised

in his earlier motion to vacate, the instant action is successive within the meaning of 28 U.S.C. §

2255.

        Accordingly, movant must “move in the appropriate court of appeals for an order authorizing

the district court to consider the application.” See 28 U.S.C. § 2244(b)(3)(A) (made applicable to

motions to vacate by § 2255). A three-judge panel of the court of appeals must first determine

whether this Court should consider the instant motion. Id. § 2244(b)(3)(B). The panel will author-

ize the filing of a second or successive motion only upon a prima facie showing that the motion is

based on:

        (1) newly discovered evidence that, if proven and viewed in light of the evidence as
        a whole, would be sufficient to establish by clear and convincing evidence that no
        reasonable factfinder would have found the movant guilty of the offense; or

        (2) a new rule of constitutional law, made retroactive to cases on collateral review
        by the Supreme Court, that was previously unavailable.

See id. §§ 2244(b)(3)(C), 2255.

        The Fifth Circuit has not issued an order authorizing this Court to consider the instant suc-

cessive motion to vacate. Movant must obtain such an order before filing the motion in this Court.




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        Although the Court may appropriately dismiss the instant successive § 2255 motion without

prejudice pending review by a three-judge panel of the Fifth Circuit Court of Appeals, it may also

transfer the successive motion to the Fifth Circuit for a determination of whether movant should be

allowed to file the successive motion in the district court. See Henderson v. Haro, 282 F.3d 862, 864

(5th Cir. 2002); In re Epps, 127 F.3d 364, 365 (5th Cir. 1997) (approving the practice of transferring

a successive motion to the Circuit and establishing procedures in the Circuit to handle such trans-

fers). Because the Fifth Circuit has already indicated that a Booker claim does not satisfy the criteria

for obtaining authorization for filing a successive motion to vacate, see In re Elwood, 408 F.3d at 212-

13 (denying authorization for filing a successive motion to vacate based upon Booker because Booker

has not been made retroactively applicable on collateral review), a dismissal without prejudice

appears more appropriate than a transfer to the Fifth Circuit.

                                   III. RECOMMENDATION

        For the foregoing reasons, the undersigned Magistrate Judge hereby recommends that the

instant motion to vacate filed pursuant to 28 U.S.C. § 2255 be DISMISSED without prejudice

pending review by a three-judge panel of the court of appeals.

        SIGNED this 9th day of November, 2006.


                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE




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                           INSTRUCTIONS FOR SERVICE AND
                          NOTICE OF RIGHT TO APPEAL/OBJECT

         The United States District Clerk shall serve a copy of these findings, conclusions and recom-
mendation on all parties by mailing a copy to each of them. Pursuant to 28 U.S.C. § 636(b)(1), any
party who desires to object to these findings, conclusions and recommendation must file and serve
written objections within ten days after being served with a copy. A party filing objections must spe-
cifically identify those findings, conclusions or recommendation to which objections are being made.
The District Court need not consider frivolous, conclusory or general objections. Failure to file writ-
ten objections to the proposed findings, conclusions and recommendation within ten days after being
served with a copy shall bar the aggrieved party from appealing the factual findings and legal con-
clusions of the Magistrate Judge that are accepted by the District Court, except upon grounds of
plain error. Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).


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                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE




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